                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

                                               )
LOUISIANA-PACIFIC CORPORATION,                 )
                                               )
        Plaintiff/Counter-Defendant,           )
                                               )               No. 3:18-cv-00447-JPM
v.                                             )
                                               )
JAMES HARDIE BUILDING                          )
PRODUCTS, INC.,                                )
                                               )
        Defendant/Counter-Plaintiff/Third-     )
        Party Plaintiff,                       )
                                               )
v.                                             )
                                               )
THE KRUSE BROTHERS, INC.,                      )
                                               )
        Third-Party Defendant.                 )

     AMENDED SCHEDULING ORDER REGARDING JAMES HARDIE BUILDING
         PRODUCTS, INC.’S MOTION FOR PRELIMINARY INJUNCTION


        The cause was before the Court for a telephonic status conference on August 14, 2018,

to discuss The Kruse Brothers, Inc.’s Motion to Continue Hearing Until October 1 and Adopt

Kruse Brothers’ Briefing Schedule (ECF No. 151). Pursuant to the discussion during the

conference, the following dates are established as deadlines for:

COMPLETING ALL DISCOVERY: September 10, 2018

        (a) SUBMITTING ALL WRITTEN DISCOVERY: August 20, 2018 (responses
            due within 10 days of receipt)

        (b) FACT WITNESS DEPOSITIONS: (4 depositions per side; 8 total): September
            10, 2018

EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):
September 10, 2018


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BRIEFS IN RESPONSE TO MOTION FOR PRELIMINARY INJUNCTION:
September 16, 2018

REPLY BRIEF: September 20, 2018


       The Preliminary Injunction Hearing will be held on September 24, 2018, beginning at
9:00 a.m. in the Nashville Federal Building in a courtroom to be announced later, and to
continue to September 25, 2018, if necessary.


SO ORDERED, this 15th day of August, 2018.

                                            /s/ Jon P. McCalla
                                           JON P. McCALLA
                                           UNITED STATES DISTRICT JUDGE




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